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 6   Haim Ronan and Igor Tanas and Proposed
     Lead Counsel for the Class
 7
     [Additional Counsel on Signature Page]
 8
                              UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
                                 SAN FRANCISCO DIVISION
10
11   PHILIP GOLUBOWSKI, Individually and on       Case No.: 3:21-cv-09767-EMC
12   Behalf of All Others Similarly Situated,
                                          NOTICE OF MOTION AND MOTION OF
13                        Plaintiff,      HAIM RONAN AND IGOR TANAS FOR
                                          APPOINTMENT AS CO-LEAD
14          v.                            PLAINTIFFS AND APPROVAL OF LEAD
                                          COUNSEL; MEMORANDUM OF POINTS
15
     ROBINHOOD MARKETS, INC., VLADIMIR AND AUTHORITIES IN SUPPORT
16   TENEV, JASON WARNICK, BAIJU BHATT,
     JAN HAMMER, PAULA LOOP, JONATHAN CLASS ACTION
17   RUBENSTEIN, SCOTT SANDELL, ROBERT
     ZOELLICK, GOLDMAN SACHS & CO. LLC, Date: March 24, 2022
18
     J.P. MORGAN SECURITIES LLC,          Time: 1:30 p.m.
19   BARCLAYS CAPITAL INC., WELLS         Judge: Hon. Edward M. Chen
     FARGO SECURITIES, LLC, MIZUHO        Courtroom: 5 – 17th Floor
20   SECURITIES USA LLC, JMP SECURITIES
     LLC, KEYBANC CAPITAL MARKETS INC.,
21
     PIPER SANDLER & CO., ROSENBLATT
22   SECURITIES INC., BMO CAPITAL
     MARKETS CORP., BTIG, LLC,
23   SANTANDER INVESTMENT SECURITIES
     INC., ACADEMY SECURITIES, INC., LOOP
24
     CAPITAL MARKETS LLC, SAMUEL A.
25   RAMIREZ & COMPANY, INC., and
     SIEBERT WILLIAMS SHANK & CO., LLC,
26
                          Defendants.
27
28


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 1                                        NOTICE OF MOTION
 2
     TO:    ALL PARTIES AND THEIR COUNSEL OF RECORD
 3
            PLEASE TAKE NOTICE that on March 24, 2022, at 1:30 p.m., or as soon thereafter as
 4
     the matter may be heard, before the Honorable Edward M. Chen, at the San Francisco Federal
 5
 6   District Courthouse, 450 Golden Gate Avenue, San Francisco, California 94102, Haim Ronan

 7   and Igor Tanas (collectively, “Ronan and Tanas”) will and hereby do respectfully move this
 8
     Court, pursuant to Section 27(a)(3) of the Securities Act of 1933 (the “Securities Act”), 15 U.S.C.
 9
     § 77z-1(a)(3), as amended by the Private Securities Litigation Reform Act of 1995 (the
10
     “PSLRA”), for the entry of an Order: (1) appointing Ronan and Tanas as Co-Lead Plaintiffs on
11
12   behalf of a class consisting of all persons and entities that purchased, or otherwise acquired,

13   Robinhood Markets, Inc. (“Robinhood” or the “Company”) common stock issued in connection
14
     with the Company’s initial public offering (the “IPO” or the “Offering”) (the “Class”); and (2)
15
     approving Ronan and Tanas’s selection of Pomerantz LLP (“Pomerantz”) as Lead Counsel for
16
     the Class.
17
18                                    SUMMARY OF ARGUMENT

19          To the extent that this motion seeks appointment of Ronan and Tanas as Co-Lead
20   Plaintiffs, this motion is made on the grounds that Ronan and Tanas are the “most adequate
21
     plaintiffs” to lead the Class within the meaning of the PSLRA and that the PSLRA therefore
22
     mandates Ronan and Tanas’s appointment as Co-Lead Plaintiffs.               See 15 U.S.C. § 77z-
23
24   1(a)(3)(B)(i). Ronan and Tanas believe that they are entitled to a rebuttable presumption favoring

25   their appointment, since they have the “largest financial interest” in the relief sought by the Class
26   in the above-captioned action (the “Action”) by virtue of, inter alia, their losses of approximately
27
     $156,773, which were suffered as a result of the above-captioned defendants’ (“Defendants”)
28

                                                      1
       NOTICE OF MOTION AND MOTION OF HAIM RONAN AND IGOR TANAS FOR APPOINTMENT AS CO-LEAD
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 1   wrongful conduct as alleged in the Action. See 15 U.S.C. § 77z-1(a)(3)(B)(iii); see also Lax v.

 2   First Merchants Acceptance Corp., No. 97 C 2715, 1997 WL 461036, at *5 (N.D. Ill. Aug. 6,
 3
     1997) (determining financial interest by (1) the number of shares purchased; (2) the number of
 4
     net shares purchased; (3) the total net funds expended; and (4) the approximate losses suffered);
 5
     Nicolow v. Hewlett Packard Co., No. 12-05980 CRB, 2013 WL 792642, at *4 (N.D. Cal. Mar. 4,
 6
 7   2013) (“District courts commonly refer to the four-factor [Lax] test, which considers (1) total

 8   shares purchased, (2) net shares purchased, (3) net funds expended, and (4) approximate losses
 9   suffered.”); City of Royal Oak Ret. Sys. v. Juniper Networks, Inc., No. 5:11-CV-04003-LHK,
10
     2012 WL 78780, at *4 (N.D. Cal. Jan. 9, 2012) (same); Knox v. Yingli Green Energy Holding
11
     Co., 136 F. Supp. 3d 1159, 1163 (C.D. Cal. 2015) (same). As the movants, to their knowledge,
12
13   with the largest financial interest in the Action, Ronan and Tanas believe they are presumptively

14   the most adequate lead plaintiffs within the meaning of the PSLRA.
15          Ronan and Tanas also satisfy the requirements of Federal Rule of Civil Procedure 23
16
     (“Rule 23”) because their claims are typical of the claims of other putative Class members and
17
     because they will fairly and adequately represent their interests.
18
19          In addition, the PSLRA vests authority in Lead Plaintiffs to select and retain Lead

20   Counsel, subject to the approval of the Court. Ronan and Tanas’s choice of counsel, Pomerantz,
21   has the skill, knowledge, expertise, resources, and experience that will enable the firm to
22
     prosecute the Action effectively and expeditiously under Ronan and Tanas’s direction.
23
            This motion is supported by the memorandum of points and authorities submitted
24
25   herewith, the Declaration of Jennifer Pafiti, Esq. in Support of Motion (“Pafiti Decl.”), and all

26   exhibits thereto.

27
28

                                                      2
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     PRELIMINARY STATEMENT
 3
            Pursuant to the PSLRA, the Court is to appoint as Lead Plaintiff the movant or group of
 4
     movants that is shown to be the “most adequate plaintiff.” See 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I).
 5
     The PSLRA creates a rebuttable presumption that the “most adequate plaintiff” is the movant or
 6
 7   group of movants that possesses the “largest financial interest” in the outcome of the litigation

 8   and that satisfies the requirements of Rule 23. Id. Ronan and Tanas believe that they should
 9   benefit from a rebuttable presumption arising from their having the largest financial interest in
10
     this litigation. Ronan and Tanas collectively purchased 13,200 shares of Robinhood common
11
     stock issued in connection with the Company’s IPO, expended $562,126 on their purchases, and,
12
13   as a result of Defendants’ wrongful conduct as alleged in the Action, incurred losses of

14   approximately $156,773 in connection with their purchases of Robinhood common stock issued
15   in connection with the Company’s IPO. See Pafiti Decl., Exhibit (“Ex.”) A.
16
            Beyond their significant financial interest, Ronan and Tanas also meet the applicable
17
     requirements of Rule 23 because their claims are typical of absent Class members and because
18
19   they will fairly and adequately represent the interests of the Class.

20          To fulfill their responsibilities as Co-Lead Plaintiffs and vigorously prosecute the Action
21   on behalf of the Class, Ronan and Tanas have selected Pomerantz as Lead Counsel for the Class.
22
     Pomerantz is a nationally-recognized securities class action firm that has recovered billions of
23
     dollars on behalf of investors. In 2018 alone, Pomerantz secured a recovery of $3 billion on
24
25   behalf of investors in the securities of Petrobras, the fifth largest class action settlement ever

26   achieved in the United States, as well as an $80 million recovery on behalf of investors in Yahoo!

27   securities. Based in New York, Pomerantz has offices in Chicago, Los Angeles, and Paris, France.
28

                                                      3
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 1          Based on their being the “most adequate plaintiffs,” their significant financial interest,

 2   their satisfaction of Rule 23 requirements, and their commitment to overseeing the Action, Ronan
 3
     and Tanas respectfully request that the Court enter an order appointing them as Co-Lead Plaintiffs
 4
     for the Class and approving their selection of Pomerantz as Lead Counsel for the Class.
 5
     II.    STATEMENT OF FACTS
 6
 7          As alleged in the Complaint of the Action, Robinhood is a financial services company

 8   headquartered in Menlo Park, California, known for pioneering commission-free trades of stocks,
 9   exchange-traded funds and cryptocurrencies via a mobile app.
10
            On or about July 30, 2021, Robinhood conducted its IPO, offering 55 million shares of its
11
     common stock to the public at a price of $38 per share (the “Offering Price”) for anticipated
12
13   proceeds of over $2 billion.

14          According to the Offering Documents, Robinhood is a “safety-first company” with a
15   “radical customer focus.” It claims to be committed to: (1) “quality execution,” supposedly
16
     “performing regular and rigorous reviews of the execution quality [ ] customers receive;” (2)
17
     maintaining “high security standards” to keep customers’ accounts safe; and (3) providing
18
19   “dedicated support” to customers to resolve their issues swiftly. According to the Offering

20   Documents, these commitments, its “fresh, people-centric approach,” and “delightful, engaging
21   customer experience,” has led Robinhood to build “deep, loyal customer relationships” and has
22
     positioned the Company well to “continue attracting new people to [the] platform” and
23
     “accelerate [ ] growth.”
24
25          Unbeknownst to investors, however, these representations (and others discussed in the

26   Action’s Complaint) were materially inaccurate, misleading, and/or incomplete because they

27   failed to disclose that, at the time of the IPO, Robinhood’s revenue growth was experiencing a
28

                                                     4
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 1   major reversal, with transaction-based revenues from cryptocurrency trading serving only as a

 2   short-term, transitory injection, masking what was actually stagnating growth. In addition, the
 3
     Company’s “significant investments” in enhancing the reliability and scalability of its platform
 4
     were patently inadequate and/or defective, exposing Robinhood to worsening service-level
 5
     disruptions and security breaches, particularly as the Company scaled its services to a larger user
 6
 7   base.

 8           As these true facts emerged after the Offering, the Company’s shares fell sharply. By the
 9   commencement of this Action, Robinhood’s shares traded as low as $17.08 per share,
10
     representing a decline of over 55% from the Offering Price.
11
             By this Action, the plaintiff of the Action, on behalf of himself and other members of the
12
13   Class, including Ronan and Tanas, who also acquired Robinhood’s shares pursuant and traceable

14   to the Offering, now seeks to obtain a recovery for the damages suffered as a result of Defendants’
15   violations of the Securities Act, as alleged in the Complaint.
16
     III.    ARGUMENT
17
             A.      RONAN AND TANAS SHOULD BE APPOINTED CO-LEAD PLAINTIFFS
18
19           Motions by proposed lead plaintiffs must be filed within 60 days of the publication of

20   notice of the action, which in this case was published on December 17, 2021 (see Pafiti Decl., Ex.
21   B). See 15 U.S.C. § 77z-1(a)(3)(A)(i)(II). The PSLRA directs courts to consider any such motion
22
     by the later of (i) 90 days after the date of publication, or (ii) as soon as practicable after the Court
23
     decides any pending motion to consolidate. See 15 U.S.C. § 77z-1(a)(3)(B)(i)-(ii). Ronan and
24
25   Tanas’s instant motion is thus timely and must be considered.

26           When faced with competing lead plaintiff motions, under 15 U.S.C. § 77z-1(a)(3)(B), the

27   Court “shall appoint as lead plaintiff the member or members of the purported plaintiff class that
28

                                                        5
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 1   the court determines to be most capable of adequately representing the interests of class members

 2   (hereinafter . . . the ‘most adequate plaintiff’).” 15 U.S.C. § 77z-1(a)(3)(B)(i). Ronan and Tanas
 3
     are the “most adequate plaintiffs” within the meaning of the PSLRA and should therefore be
 4
     appointed as Co-Lead Plaintiffs.
 5
            To guide this determination, the PSLRA creates a rebuttable presumption that the “most
 6
 7   adequate plaintiff” “is the person or group of persons that” (i) either filed the complaint or made

 8   a motion for appointment as lead plaintiff; (ii) “in the determination of the court, has the largest
 9   financial interest in the relief sought by the class”; and (iii) otherwise satisfies the requirements
10
     of Rule 23. See 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(aa)-(cc). As set forth below, Ronan and Tanas
11
     satisfy all three of these criteria and thus believe that they are entitled to the rebuttable
12
13   presumption that they are the most adequate plaintiffs within the meaning of the PSLRA.

14   Specifically, Ronan and Tanas are willing to serve as Co-Lead Plaintiffs, have the largest financial
15   interest of any movant in the Action to their knowledge, and otherwise strongly satisfy the
16
     requirements of Rule 23.
17
            For all these reasons, as set forth in greater detail below, Ronan and Tanas respectfully
18
19   urge the Court to appoint them to serve as Co-Lead Plaintiffs overseeing the Action.

20                  1.      Ronan and Tanas Are Willing to Serve as Class Representatives
21          On December 17, 2021, counsel for the plaintiff in the Action caused a notice to be
22
     published over Globe Newswire pursuant to Section 27(a)(3)(A)(i) of the PSLRA (the “PSLRA
23
     Notice”), which announced that a securities class action had been filed against Defendants, and
24
25   which advised investors in Robinhood common stock that they had until February 15, 2022—i.e.,

26   60 days from the date of the PSLRA Notice—to file a motion to be appointed as lead plaintiff.

27   See Pafiti Decl., Ex. B.
28

                                                      6
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 1           Ronan and Tanas have filed the instant motion pursuant to the PSLRA Notice, and have

 2   attached sworn Certifications attesting that they are willing to serve as representatives for the
 3
     Class and to provide testimony at deposition and trial, if necessary. See id., Ex. C. Under the
 4
     PSLRA, Ronan and Tanas’s actions were timely and legally sufficient. Accordingly, Ronan and
 5
     Tanas readily satisfy the first requirement to serve as Co-Lead Plaintiffs of the Class.
 6
 7                   2.      Ronan and Tanas Are the Most Adequate Plaintiffs Within the

 8                           Meaning of the PSLRA
 9           When faced with competing lead plaintiff motions, under 15 U.S.C. § 77z-1(a)(3)(B), the
10
     Court “shall appoint as lead plaintiff the member or members of the purported plaintiff class that
11
     the court determines to be most capable of adequately representing the interests of class members
12
13   (hereinafter . . . the ‘most adequate plaintiff’).” See 15 U.S.C. § 77z-1(a)(3)(B)(i). Ronan and

14   Tanas are the “most adequate plaintiffs” within the meaning of the PSLRA and should therefore
15   be appointed as Co-Lead Plaintiffs.
16
                             a.      Ronan and Tanas Have the Largest Financial Interest in the
17
                                     Action
18
19           The PSLRA requires a court to adopt a rebuttable presumption that “the most adequate

20   plaintiff . . . is the person or group of persons that . . . in the determination of the court, has the
21   largest financial interest in the relief sought by the class.” 15 U.S.C. § 77z-1(a)(3)(B)(iii). To
22
     the best of their knowledge, Ronan and Tanas have the largest financial interest of any Robinhood
23
     investor or investor group seeking to serve as Lead Plaintiff based on the four factors articulated
24
25   in the seminal case Lax v. First Merchants Acceptance Corp.: (1) the number of shares purchased;

26   (2) the number of net shares purchased (also referred to as “retained shares”); (3) the total net

27   funds expended; and (4) the approximate losses suffered. 1997 WL 461036, at *5. In accord
28

                                                       7
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 1   with courts nationwide, these so-called Lax factors have been adopted by courts in the Ninth

 2   Circuit, including in this District. See, e.g., Nicolow, 2013 WL 792642, at *4 (“District courts
 3
     commonly refer to the four-factor [Lax] test, which considers (1) total shares purchased, (2) net
 4
     shares purchased, (3) net funds expended, and (4) approximate losses suffered.”); City of Royal
 5
     Oak Ret. Sys., 2012 WL 78780, at *4 (same); Knox, 136 F. Supp. 3d at 1163 (same).
 6
 7          In connection with the Company’s IPO, Ronan and Tanas collectively: (1) purchased

 8   13,200 shares of Robinhood common stock; (2) expended $562,126 on their purchases of
 9   Robinhood common stock; and (3) as a result of Defendants’ wrongful conduct as alleged in the
10
     Action, incurred losses of approximately $156,773 in connection with their purchases of
11
     Robinhood common stock issued in connection with the Company’s IPO. See Pafiti Decl., Ex.
12
13   A. Thus, under the Lax factors, Ronan and Tanas believe that they have the largest financial

14   interest among any lead plaintiff movants in the Action, thereby entitling Ronan and Tanas to a
15   rebuttable presumption that they are the “most adequate plaintiffs” within the PSLRA’s meaning
16
     (15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(bb)), given that they also satisfy the requirements of Rule 23.
17
                            b.     Ronan and Tanas Otherwise Satisfy Rule 23’s Requirements
18
19          For lead plaintiff movants to secure the PSLRA’s rebuttable presumption that they are the

20   “most adequate plaintiffs,” the movants must also demonstrate that they “otherwise satisf[y] the
21   requirements of Rule 23.” See 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(cc). A prima facie showing
22
     suffices for this determination. Hessefort v. Super Micro Comput., Inc., 317 F. Supp. 3d 1056,
23
     1060-01 (N.D. Cal. 2018); Tai Jan Bao v. SolarCity Corp., No. 14-CV-01435-BLF, 2014 WL
24
25   3945879, at *3 (N.D. Cal. Aug. 11, 2014). “This showing need not be as thorough as what would

26   be required on a class certification motion and only needs to satisfy typicality and adequacy.” In

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 1   re Solar City Corp. Sec. Litig., No. 16-CV-04686-LHK, 2017 WL 363274, at *5 (N.D. Cal. Jan.

 2   25, 2017). Ronan and Tanas readily pass muster.
 3
             Rule 23(a) provides that a class action may proceed if the following four requirements are
 4
     satisfied:
 5
                    (1) the class is so numerous that joinder of all members is
 6
                    impracticable; (2) there are questions of law or fact common to the
 7                  class; (3) the claims or defenses of the representative parties are
                    typical of the claims or defenses of the class; and (4) the
 8                  representative parties will fairly and adequately protect the interests
                    of the class.
 9
10   Fed. R. Civ. P. 23(a). Rule 23(b)(3) adds that common questions must predominate over any

11   questions affecting only individual class members and that a class action must be superior to other
12   available methods for fairly and efficiently adjudicating the case. See Fed. R. Civ. P. 23(b)(3).
13
     Here, the Complaint in the Action pleads Rule 23(a)(1) numerosity (see Dkt. No. 1 ¶ 70), Rule
14
     23(a)(2) common questions (see id. ¶ 72), and Rule 23(b)(3) predominance (see id.) and
15
16   superiority (see id. ¶ 73) in a manner common to all lead plaintiff candidates. The sufficiency of

17   these allegations is not upset by any facts uniquely concerning Ronan and Tanas.
18           Ronan and Tanas satisfy the threshold for Rule 23(a)(3) typicality. “The test of typicality
19
     ‘is whether other members have the same or similar injury, whether the action is based on conduct
20
     which is not unique to the named plaintiffs, and whether other class members have been injured
21
22   by the same course of conduct.’” Richardson v. TVIA, Inc., No. C 06 06304 RMW, 2007 WL

23   1129344, at *4 (N.D. Cal. Apr. 16, 2007) (quoting Hanon v. Dataproducts Corp., 976 F.2d 497,

24   508 (9th Cir. 1992)). Ronan and Tanas’s claims are typical of those of the Class members. Like
25
     all Class members, Ronan and Tanas allege that: (1) Defendants violated the Securities Act by
26
     making false or misleading statements of material facts and/or by omitting to disclose material
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     facts concerning Robinhood; (2) Ronan and Tanas and the Class members purchased Robinhood
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 1   common stock issued in connection with the Company’s IPO at prices artificially inflated by

 2   Defendants’ misrepresentations or omissions and were damaged upon the disclosure of those
 3
     misrepresentations and/or omissions; and (3) Ronan and Tanas and the Class members were
 4
     damaged upon the revelation of Defendants’ alleged misrepresentations or omissions through
 5
     corrective disclosures that drove Robinhood’s share price downward. These shared claims, which
 6
 7   are based on the same legal theories and arise from the same underlying facts and course of

 8   conduct, demonstrate Ronan and Tanas’s typicality under Rule 23(a)(3).
 9          Ronan and Tanas also satisfy the Rule 23(a)(4) adequacy requirement. In determining
10
     whether that requirement is met, courts in the Ninth Circuit consider whether “the representative
11
     plaintiffs and their counsel have any conflicts of interest with other class members” and ask “will
12
13   the representative plaintiffs and their counsel prosecute the action vigorously on behalf of the

14   class?” Staton v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003) (citations omitted). Here, Ronan
15   and Tanas have submitted Certifications executed by them declaring their commitment to protect
16
     the interests of the Class. See Pafiti Decl., Ex. C. Ronan and Tanas have no conflicts of interest
17
     or antagonism with the Class of Robinhood investors they seek to represent. Ronan and Tanas’s
18
19   significant losses from their purchases of Robinhood common stock issued in connection with the

20   Company’s IPO demonstrate that they have a sufficient interest in the outcome of this litigation
21   that aligns with the interests of Class members.
22
            Indeed, Ronan and Tanas have already demonstrated their ability to pursue securities
23
     claims through their choice of counsel, Pomerantz. Pomerantz is one of the nation’s leading
24
25   plaintiff-side securities litigation firms, as discussed in greater detail in Section III.B., infra.

26   Ronan and Tanas’s and Pomerantz’s willingness and ability to zealously litigate the claims in the

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 1   Action on behalf of the Class cannot reasonably be questioned. In addition to Pomerantz, Igor

 2   Tanas is also represented by the Bronstein, Gewirtz & Grossman, LLC law firm in this Action.
 3
             Further, Ronan and Tanas constitute an appropriate group of the type routinely appointed
 4
     to serve as Co-Lead Plaintiffs. See, e.g., Perrin v. Southwest Water Co., No. 2:08-cv-7844-FMC-
 5
     AGRx, 2009 U.S. Dist. LEXIS 134154, at *13 (C.D. Cal. Feb. 12, 2009) (“[C]ourts have generally
 6
 7   held that small and manageable groups serving as lead plaintiffs do not frustrate Congress’ desire

 8   to ensure that investors, rather than lawyers, control securities litigation.”); Robb v. Fitbit Inc.,
 9   No. 16-cv-00151-SI, 2016 U.S. Dist. LEXIS 62457, at *13-*14 (N.D. Cal. May 10, 2016)
10
     (appointing five-person investor group as lead plaintiff); In re Cendant Corp. Litig., 264 F.3d
11
     201, 266 (3d. Cir. 2001) (“The PSLRA explicitly permits a ‘group of persons’ to serve as lead
12
13   plaintiff”) (citation omitted); In re Blue Apron Holdings, Inc. Sec. Litig.,, No. 17-CV-4846 (WFK)

14   (PK), 2017 WL 6403513, at *4 (E.D.N.Y. Dec. 15, 2017); Weltz v. Lee, 199 F.R.D. 129, 133
15   (S.D.N.Y. 2001) (“recogniz[ing] that appointing a group of people as co-lead plaintiffs is
16
     allowable under the PSLRA” and finding that a group of seven shareholders with the greatest loss
17
     was “presumptively the most adequate plaintiff”); Barnet v. Elan Corp., PLC, 236 F.R.D. 158,
18
19   162 (S.D.N.Y. 2005) (holding that “there can be no doubt” that the PSLRA permits appointment

20   of groups and appointing group consisting of six members with the largest financial interest as
21   lead plaintiff).
22
             Ronan and Tanas likewise have demonstrated their adequacy because they are a small and
23
     cohesive group of two investors who have submitted a Joint Declaration attesting to, inter alia,
24
25   their backgrounds, their investing experience, their understanding of the responsibilities of a lead

26   plaintiff pursuant to the PSLRA, their decision to seek appointment jointly as Co-Lead Plaintiffs,

27   and the steps that each of them are prepared to take to cooperatively prosecute this litigation on
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                                                      11
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 1   behalf of the Class. See Pafiti Decl., Ex. D. Courts routinely appoint Co-Lead Plaintiffs under

 2   such circumstances. See, e.g., Fitbit, 2016 U.S. Dist. LEXIS 62457, at *13-*14 (appointing as
 3
     lead plaintiff a group of five unrelated investors that submitted a joint declaration “stat[ing] that
 4
     the individual members have discussed the responsibilities of acting as lead plaintiff, will stay in
 5
     regular communication with counsel and with each other, and will make decisions by consensus,
 6
 7   using a majority vote as a back-stop”); Bruce v. Suntech Power Holdings Co., Ltd., No. CV 12-

 8   04061 RS, 2012 U.S. Dist. LEXIS 167702, at *9 (N.D. Cal. Nov. 13, 2012) (appointing as lead
 9   plaintiff a group of three unrelated investors that “submitted a joint declaration attesting that each
10
     is knowledgeable about the litigation, that they are working together, and that they are committed
11
     to protecting the interests of the Class”); Perrin, 2009 U.S. Dist. LEXIS 134154, at *13
12
13   (appointing as lead plaintiff a group of four investors that “submitted a Joint Declaration agreeing

14   to ‘work together to ensure the maximum recovery on behalf of the proposed class’”).
15          B.      CO-LEAD PLAINTIFFS’ SELECTION OF COUNSEL SHOULD BE
16
                    APPROVED
17
            The PSLRA vests authority in Lead Plaintiffs to select and retain Lead Counsel, subject
18
19   to the approval of the Court. See 15 U.S.C. § 77z-1(a)(3)(B)(v); Osher v. Guess?, Inc., No. CV01-

20   00871LGB(RNBX), 2001 WL 861694, at *4 (C.D. Cal. Apr. 26, 2001). The Court should not
21   interfere with Lead Plaintiffs’ selection unless it is necessary to do so to “protect the interests of
22
     the class.” 15 U.S.C. § 77z-1(a)(3)(B)(iii)(II)(aa).
23
            Ronan and Tanas have selected Pomerantz to serve as Lead Counsel for the Class.
24
25   Pomerantz is a premier firm, highly experienced in the areas of securities litigation and class

26   action lawsuits, which has successfully prosecuted numerous such actions on behalf of investors

27   over its 80-plus year history, as detailed in its firm resume. See Pafiti Decl., Ex. E. Pomerantz
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 1   recently secured a recovery of $3 billion on behalf of investors in the securities of Petróleo

 2   Brasileiro S.A. — Petrobras, the largest class action settlement in a decade and the largest
 3
     settlement ever in a class action involving a foreign issuer. See id. Petrobras is part of a long line
 4
     of record-setting recoveries led by Pomerantz, including the $225 million settlement in In re
 5
     Comverse Technology, Inc. Securities Litigation, No. 06-CV-1825 (E.D.N.Y.), in June 2010. Id.
 6
 7   Most recently, Pomerantz announced as Lead Counsel on behalf of a class of Fiat Chrysler

 8   Automobiles N.V. investors that it has reached a $110 million settlement with the company. See
 9   id.
10
            As a result of its extensive experience in similar litigation, Ronan and Tanas’s choice of
11
     counsel, Pomerantz, has the skill, knowledge, expertise, resources, and experience that will enable
12
13   the firm to prosecute the Action effectively and expeditiously. The Court may be assured that by

14   approving Ronan and Tanas’s selection of Pomerantz as Lead Counsel, the Class members will
15   receive the best legal representation available. Thus, Ronan and Tanas respectfully urge the Court
16
     to appoint Pomerantz to serve as Lead Counsel.
17
     IV.    CONCLUSION
18
19          For the foregoing reasons, Ronan and Tanas respectfully request that the Court issue an

20   Order: (1) appointing Ronan and Tanas as Co-Lead Plaintiffs for the Class; and (2) approving
21   Ronan and Tanas’s selection of Pomerantz as Lead Counsel for the Class.
22
     Dated: February 15, 2022                       Respectfully submitted,
23
                                                    POMERANTZ LLP
24
25                                                  /s/ Jennifer Pafiti
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26
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 1                                       PROOF OF SERVICE

 2          I hereby certify that on February 15, 2022, a copy of the foregoing was filed electronically
 3
     and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
 4
     by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
 5
     unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
 6
 7   access this filing through the Court’s CM/ECF System.

 8
 9                                                        /s/ Jennifer Pafiti
                                                          Jennifer Pafiti
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